Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW MEXICO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                KOBA Limited Partnership, a New Mexico Limited Partnership d/b/a Kachina Lodge Properties

2.   All other names debtor
     used in the last 8 years
                                  DBA Best Western Kachina Lodge and Meeting Center
     Include any assumed          DBA Kachina Lodge Resort Hotel
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  413 Paseo del Pueblo Norte                                      PO Box 2480
                                  Taos, NM 87571                                                  Taos, NM 87571
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Taos                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  413 Paseo del Pueblo Norte Taos, NM 87571
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.Kachinalodge.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    KOBA Limited Partnership, a New Mexico Limited                                               Case number (if known)
          Partnership d/b/a Kachina Lodge Properties
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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                                                  for Non-Individuals Filing for Bankruptcy                                                               page 2
Debtor   KOBA Limited Partnership, a New Mexico Limited                                            Case number (if known)
         Partnership d/b/a Kachina Lodge Properties
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                                                 for Non-Individuals Filing for Bankruptcy                                                                 page 3
Debtor    KOBA Limited Partnership, a New Mexico Limited                                           Case number (if known)
          Partnership d/b/a Kachina Lodge Properties
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 2, 2018
                                                  MM / DD / YYYY


                             X   /s/ Wilmer Dean Koop                                                     Wilmer Dean Koop
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing General Partner




18. Signature of attorney    X   /s/ George Dave Giddens                                                   Date May 2, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 George Dave Giddens
                                 Printed name

                                 GIDDENS & GATTON LAW, P.C.
                                 Firm name

                                 10400 Academy N.E. Suite 350
                                 Albuquerque, NM 87111
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (505)271-1053                 Email address      giddens@giddenslaw.com

                                 941 NM
                                 Bar number and State




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                                                  for Non-Individuals Filing for Bankruptcy                                                               page 4
 Fill in this information to identify the case:
 Debtor name KOBA Limited Partnership, a New Mexico Limited
                    Partnership d/b/a Kachina Lodge Properties
 United States Bankruptcy Court for the: DISTRICT OF NEW MEXICO                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Booking. Com                                                    Business Debt                                                                                              $4,972.23
 7208 W. Sand Lake
 Road Suite 202
 Orlando, FL 32819
 Century Link                                                    Utility Bill                                                                                               $2,273.60
 PO Box 29040
 Phoenix, AZ
 85038-9040
 Chardans                                                        Business Debt                                                                                              $1,818.92
 Mechanical Inc
 4320 Ellison N.E.
 Albuquerque, NM
 87109
 Ernesto Montoya                                                 Business Debt                                                                                                $300.00

 Expedia                                                         Credit Card                                                                                                $5,738.52
 PO Box 847675
 Dallas, TX 75284
 Hawk Mechanical                                                 Trade debt                                                                                                   $505.30
 Plumbing
 1132 Paseo Del
 Pueblo Sur
 Taos, NM 87571
 Image Technology                                                Business Debt                                                                                                $600.00
 Systems
 1615 Dorchester Dr.,
 Suite 100
 Plano, TX 75075
 Katzon Brothers,                                                Business Debt                                                                                              $2,000.57
 Inc.
 960 Vallejo Street
 Denver, CO 80204
 Kit Carson Electric                                             Utility Bill                                                                                             $11,116.07
 118 Cruz Alta Road
 Taos, NM 87571



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    KOBA Limited Partnership, a New Mexico Limited                                                     Case number (if known)
           Partnership d/b/a Kachina Lodge Properties
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 LDH Enterprises                                                 Business Debt                                                                                              $1,802.23
 LLC
 6645 Isleta Blvd Sw
 Albuquerque, NM
 87105
 Luminarias Limited,                                             Business Debt                                                                                              $1,030.76
 LLC
 PO Box 21926
 Albuquerque, NM
 87154
 New Mexico                                                      Gross                                                                                                    $40,000.00
 Department of
 Taxation & Reve
 PO Box 2527
 Santa Fe, NM 87504
 Pitney Bowes                                                    Business Debt                                                                                              $3,118.13
 5101 Interchange
 Way
 Louisville, KY
 40229-2161
 Taos County Clerk                                               Property taxes                                                                                           $38,500.00
 105 Albright St,
 Suite G
 Taos, NM 87571
 The Northern Trust                                              Business Debt                                                                                                $456.00
 Lineberry

 Tiger Natural Gas                                               Utility Bill                                                                                               $2,258.05
 1422 E. 71st Street
 Suite J
 Tulsa, OK 74136
 Town of Taos                                                    Business Debt                                                                                            $33,297.80
 Treasurer's
 Department
 105 Albright Street
 Suite F
 Taos, NM 87571
 Town of Taos                                                    Utility Bill                                                                                               $2,062.00
 Water and Sewer
 182 Los Cordovas
 Drive
 Taos, NM 87571
 Walmart                                                         Business Debt                                                                                            $10,056.74
 GE Capital Attn:
 Bankruptcy Dept
 PO Box 103104
 Roswell, GA 30076
 Waste Management                                                Utility Bill                                                                                                 $708.00
 2625 W. Grandview
 RD
 Phoenix, AZ 85023


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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